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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )              Case No. 8:07CR-47
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )                     ORDER
YOLANDA LOUIS,                                 )
                                               )
                     Defendant.                )


       This case is before the court on the defendant's Motion to Review Detention (#47).
The defendant requests the court to reopen the issue of detention and allow the defendant
to be placed in a short-term residential substance abuse program at government expense.
       After reviewing the defendant's March 28, 2007 initial appearance Pretrial Service
report, the March 29, 2007 Detention Order (#27), and the May 21, 2007 report of Catholic
Charities, I find the motion should be denied without hearing.
       The defendant's proposed placement in a short-term residential substance abuse
program does not significantly address the defendant's substantial prior criminal history,
or her noncompliance with previous court orders, and would not, given her prior record,
result in an adequate level of supervision. In reaching this conclusion, I specifically
considered the defendant's prior felony conviction as well as her prior convictions for failure
to appear. Because the evidence presented fails to rebut the presumption of detention,
18 U.S.C. § 3142(e), I find the defendant should remain committed.
       IT IS ORDERED:
       The defendant's Motion to Review Detention (#47) is denied without hearing.
       Dated this 4th day of June 2007.

                                           BY THE COURT:


                                           S/ F. A. Gossett
                                           United States Magistrate Judge
